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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION

SHERINA TURNER,

       Plaintiff,                                           Case No. 1:19-cv-10303
                                                            Hon. Thomas L. Ludington
v.

SAGINAW TRANSIT AUTHORITY
REGIONAL SERVICES,

      Defendant.
___________________________________/

THE MASTROMARCO FIRM
VICTOR J. MASTROMARCO, JR. (P34564)
KEVIN L. KULA (P81913)
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mweaver@plunkettcooney.com
___________________________________/

                       PLAINTIFF’S MOTION FOR REMAND

       NOW COMES the Plaintiff, SHERINA TURNER, by and through her

attorneys, THE MASTROMARCO FIRM, and for her motion for remand states

more fully as follows:


                                             1
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1.      That, pursuant to Local Rule 7.1, Counsel for the Plaintiff sought

concurrence from Counsel for the Defendant on February 5, 2019, and concurrence

for the relief sought in this motion was not granted. Exhibit 1, Email Chain.

2.      That Plaintiff hereby moves this Honorable Court pursuant to 28 U.S.C.A. §

1447(c) for an order of remand to the Saginaw County Circuit Court.

3.      That on January 8, 2019, Plaintiff filed her two-count cause of action in the

Circuit Court for the County of Saginaw alleging claims of retaliation in violation

of Michigan’s Whistleblowers’ Protection Act and Persons With Disabilities Civil

Rights Act. Exhibit 2, Plaintiff’s Complaint.

4.      That Plaintiff did not seek or otherwise obtain a right to sue letter

authorizing suit under the Americans with Disabilities Act.

5.      That on January 31, 2019, the Defendant filed its Notice of Removal with

this Court alleging jurisdiction based on federal question jurisdiction. ECF No. 1,

at 4.

6.      That in every removal situation, the, “party seeking removal bears the

burden of establishing its right thereto.” Her Majesty the Queen in Right of the

Province of Ontario v. City of Detroit, 874 F.2d 332, 339 (6th Cir. 1989).

Moreover, removal statutes are to be construed strictly against removal and where

there is a question as to the propriety of removal, the matter should be resolved in

favor of remanding to the state court. National Business Development Services,


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Inc. v. American Credit Education & Consulting, Inc., released January 18, 2008,

Slip Copy, 2008 WL 186367 (E.D. Mich).

7.      That Defendants fail to adequately explain the basis on which they perceive

a federal question to be raised in the Complaint.1

8.      That Defendants attempt to remove the instant cause is frivolous as the

Complaint clearly does not allege a count which would require analysis of a federal

question. Moreover, contrary to Defendant’s assertion, the Complaint does not

raise the issue of retaliation in violation of the ADA.

9.      That reference to the ADA in the Complaint was included only for purposes

of illustrating how and why the Plaintiff reported and/or opposed a violation, or

suspected violation, of law.

10.     That even if we assume this Court has jurisdiction, Plaintiff did not seek a

right to sue letter permitting suit under the ADA. Therefore, assuming this Court

would then dismiss that count, which the Complaint does not allege, the Court

would need to exercise supplemental jurisdiction over the remaining state-law

claims.

11.     That in such circumstances there is a “strong presumption” in favor of

declining to exercise supplemental jurisdiction over the state-law claims after

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  Furthermore, Defendant’s Notice of Removal also seemingly calls on diversity
jurisdiction by claiming this Honorable Court is given jurisdiction under 28 U.S.C.
§ 1332(a)(1). That section is for diversity of citizenship. Federal question
jurisdiction is 28 U.S.C. § 1331. Plaintiff acknowledges this may be a typo.
                                              3
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dismissing the federal claims. See 28 U.S.C. § 1367(c)(3); Musson Theatrical, Inc.

v. Fed. Express Corp., 89 F.3d 1244, 1255 (6th Cir. 1996).

12.     That Plaintiffs hereby request that the Court remand to the Saginaw County

Circuit Court the above-captioned cause of action pursuant to 28 U.S.C.A. § 1447.

13.     That Plaintiffs further request an award of costs along with his actual

expenses, including attorney fees, incurred as a result of the removal pursuant to 28

U.S.C.A. § 1447(c).

14.     That 28 U.S.C. § 1927 provides this Court with the authority to require an attorney

who “unreasonably and vexatiously” increases the proceedings in a legal matter to

personally satisfy the excess costs and attorneys’ fees. 28 U.S.C. § 1927.

        WHEREFORE, the Plaintiff respectfully requests that this Honorable Court

remand to the Saginaw County Circuit Court the above-captioned lawsuit and

award the Plaintiff costs along with actual expenses, including attorney fees,

incurred as a result of the removal pursuant to 28 U.S.C.A. § 1447 (c).

                                              Respectfully submitted,

                                              THE MASTROMARCO FIRM

Dated: January 7, 2019                 By:    /s/ Kevin L. Kula
                                              KEVIN L. KULA (P81913)
                                              Attorneys for Plaintiff
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     BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR REMAND

      NOW COMES the Plaintiff, SHERINA TURNER, by and through her attorneys,

THE MASTROMARCO FIRM, and for her Brief in Support, states as follows:

      Plaintiff relies upon the Federal Rules of Civil Procedure and the authority

cited in her Motion.

      WHEREFORE, the Plaintiff respectfully requests that this Honorable Court

remand to the Saginaw County Circuit Court the above-captioned lawsuit and to

award the Plaintiff an award of costs along with actual expenses, including

attorney fees, incurred as a result of the removal.

                                            Respectfully submitted,

                                            THE MASTROMARCO FIRM

Dated: January 7, 2019               By:    /s/ Kevin L. Kula
                                            KEVIN L. KULA (P81913)
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                                PROOF OF SERVICE

      I hereby certify that on February 7, 2019, I presented the foregoing papers
to the Clerk of the Court for the filing and uploading to the CM/ECF system,
which will send notification of such filing to the following: MICHAEL D.
WEAVER.

                                           Respectfully submitted,

                                           THE MASTROMARCO FIRM

Dated: February 7, 2019             By:    /s/ Kevin L. Kula
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